

Matter of Konovalchuk v Annucci (2019 NY Slip Op 08752)





Matter of Konovalchuk v Annucci


2019 NY Slip Op 08752


Decided on December 5, 2019


Appellate Division, Third Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: December 5, 2019

528479

[*1]In the Matter of Ruslan Konovalchuk, Petitioner,
vAnthony J. Annucci, as Acting Commissioner of Corrections and Community Supervision, Respondent.

Calendar Date: November 8, 2019

Before: Garry, P.J., Mulvey, Devine and Pritzker, JJ.


Ruslan Konovalchuk, Comstock, petitioner pro se.
Letitia James, Attorney General, Albany (Marcus J. Mastracco of counsel), for respondent.

Letitia James, Attorney General, Albany (Marcus J. Mastracco of counsel), for respondent.



Proceeding pursuant to CPLR article 78 (transferred to this Court by order of the Supreme Court, entered in Albany County) to review a determination of respondent finding petitioner guilty of violating certain prison disciplinary rules.
Determination confirmed. No opinion.
Garry, P.J., Mulvey, Devine and Pritzker, JJ., concur.
ADJUDGED that the determination is confirmed, without costs, and petition dismissed.








